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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE

Yucaipa American Alliance Fund I, L.P., and               :
Yucaipa American Alliance (Parallel) Fund I,              :
                                                          :
                           Appellants-Defendants, :
                                                          :
v.                                                        :   Chapter 11
                                                          :
BDCM Opportunity Fund II, L.P., Black                     :   Case No. 12-11564 (CSS)
Diamond CLO 2005-1 Ltd., Spectrum                         :
                                                              (Jointly Administered)
Investment Partners, L.P., Black Diamond                  :
Commercial Finance, L.L.C., as Co-                        :   Adv. Proc. No. 14-50971
Administrative Agent, and Spectrum                        :
Commercial Finance, LLC, as Co-                           :
Administrative Agent,                                     :   C.A. No. __________________
                                                          :
                           Appellees-Plaintiffs.          :   ECF Case
                                                          :
                                                          :
                                                          :
                                                          :
                                                          :
                                                          :
----------------------------------------------------------x

         DECLARATION OF KAHN SCOLNICK IN SUPPORT OF APPELLANTS-
    DEFENDANTS YUCAIPA AMERICAN ALLIANCE FUND I, L.P. AND YUCAIPA
             AMERICAN ALLIANCE (PARALLEL) FUND I, L.P.’S
                   MOTION FOR LEAVE TO APPEAL
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                           DECLARATION OF KAHN SCOLNICK

I, Kahn Scolnick, hereby declare as follows:

       1.      I am an attorney duly admitted to practice before this Court pro hac vice, and I am

a partner at the law firm of Gibson, Dunn & Crutcher LLP, attorneys of record for Plaintiffs

Yucaipa American Alliance Fund I, L.P. and Yucaipa American Alliance (Parallel) Fund I, L.P.

(collectively, “Yucaipa”). I submit this declaration in support of Yucaipa’s Motion for Leave to

Appeal the Order and Opinion (D.I. 82, 82-1) of the United States Bankruptcy Court for the

District of Delaware dismissing Yucaipa’s counterclaim (D.I. 19) with prejudice, entered on

August 21, 2015 (the “Motion”). I have personal knowledge of the facts set forth in this

declaration, except for those stated upon information and belief, and if called to testify, I could

and would competently testify to them.

       2.      On September 2, 2015, I received, on Yucaipa’s behalf, an email communication

and attached correspondence from Michael Kwon and Robert Ward of the Schulte Roth & Zabel

law firm, counsel of record for Appellees-Plaintiffs BDCM Opportunity Fund II, L.P., Black

Diamond CLO 2005-1 Ltd., Black Diamond Commercial Finance, L.L.C., Spectrum Investment

Partners, L.P., and Spectrum Commercial Finance, LLC (collectively, “BD/S”) . A true and

correct copy of the September 2, 2015 email communication and attached correspondence are

attached hereto as Exhibit 1.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct, and that this Declaration was executed on this 4th day of September 2015, at

Los Angeles, California.



                                               Kahn Scolnick (Pro Hac Vice)
